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                              UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al
                                                                     CIVIL ACTION
versus
                                                                     22-211-SDD-SDJ
KYLE ARDOIN, in his official
capacity as Secretary of State
for Louisiana

consolidated with

EDWARD GALMON, SR., et al
                                                                     CIVIL ACTION
versus
                                                                     22-214-SDD-SDJ
KYLE ARDOIN, in his official
capacity as Secretary of State
for Louisiana

                                            RULING

         This matter is before the Court on a Motion to Cancel Hearing on Remedy and to Enter a

Scheduling Order for Trial1 filed by Defendant, Louisiana Secretary of State Kyle Ardoin, and the

Intervenor Defendants, Senate President Page Cortez, Speaker Clay Schexnayder, and

Attorney General Jeff Landry. The Galmon and Robinson Plaintiffs filed a joint Opposition,2 and

the Louisiana Legislative Black Caucus separately opposed3 the Motion. For the reasons that

follow, the Motion is DENIED.

         This case has been extensively litigated. The parties have conducted expansive

discovery, presented testimony from twenty-one witnesses, introduced hundreds of exhibits into

evidence throughout a five-day preliminary injunction hearing, and filed hundreds of pages of



1
  Rec. Doc. No. 260.
2
  Rec. Doc. No. 264.
3
  Rec. Doc. No. 263.
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pre- and post-hearing briefing—all of which culminated in this Court’s 152-page Ruling on

liability.4 On the eve of the remedial hearing, this matter was stayed by the United States

Supreme Court.5 The preparation necessary for the remedial hearing was essentially complete.

The parties were ordered to submit proposed remedial maps. The Defendants elected not to

prepare any remedial maps. The Plaintiffs disclosed proposed remedial maps; witnesses and

exhibits were disclosed; expert reports were disclosed; and Defendants deposed Plaintiffs’

identified experts.6 The only remaining issue is the selection of a congressional district map—a

limited inquiry—which has been the subject of disclosure and discovery in the run up to the June

29, 2022 remedy hearing that was stayed on the eve of trial.

       The Court finds that based on the remaining issue before it, there is adequate time to

update the discovery needed in advance of the hearing to take place October 3–5, 2023. The

parties were previously ordered7 to confer and jointly submit a proposed pre-hearing scheduling

order in advance of the October 3, 2023 hearing date but have failed to reach an agreement.

Accordingly, the Court will refer this matter to the Magistrate Judge on an expedited basis for

the entry of a scheduling order.

       ACCORDINGLY, IT IS HEREBY ORDERED that Defendants’ Motion to Cancel Hearing

on Remedy and to Enter a Scheduling Order for Trial8 is DENIED. The matter is hereby referred

to the Magistrate Judge for an expedited entry of a Scheduling Order.

        Signed in Baton Rouge, Louisiana this 29th day of August, 2023.



                                    CHIEF JUDGE SHELLY D. DICK
                                    UNITED STATES DISTRICT COURT
4
                                    MIDDLE DISTRICT OF LOUISIANA
  Rec. Doc. No. 173.
5
  Rec. Doc. No. 227.
6
  See Rec. Doc. No. 206.
7
  Rec. Doc. No. 250.
8
  Rec. Doc. No. 260.
